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UTSA. The University of Texas at San Antonio™

College of Sciences | Department of Physics and Astronomy

October 31, 2023

Dear Mr. Mario Chapa,

| am delighted to inform you that the Department of Physics and Astronomy at the University of Texas at

San Antonio is recommending that you be offered admission into the PhD graduate program beginning in the
Spring 2024 semester! Your selection from a pool of outstanding applicants is an indicator of our confidence
in your ability to successfully undertake the challenges of this program. This decision is contingent upon final

review and approval by the UTSA Graduate School. The UTSA Graduate School will send an official admission
offer letter shortly.

Should you accept this offer, you will receive a financial package to include a stipend in the amount of
$27,000.00, tuition and fees, (to be paid directly on your behalf), in the amount of approximately $12,500.00,
and health insurance for up to $4,400 per year. Together, this represents a total financial

package of approximately $43,900.00 annually. To receive this financial package, you will be appointed either
as a Graduate Research Assistant under the supervision of at least one faculty member or a Graduate
Teaching Assistant teaching or assisting with up to 2 courses each semester. You will not be required to work
more than a quarter time or half time, depending on your appointment. Level of support is based on full-time
enrollment in the graduate program and is provided to students without outside employment. Also note that
receipt of this award may be taxable and may prevent you from obtaining other sources of financial aid.
You should check with the Office of Student Financial Aid https://onestop.utsa.edu/financialaid/ if you have
questions.

Your eligibility for the award for up to 4 years is contingent upon availability of funds. In addition, to remain
eligible, you must (1) be enrolled at UTSA for 9 semester hours during the fall and spring semesters and 3
hour during the summer session, (2) maintain a minimum GPA of 3.0 in all coursework, and (3) be in good
academic standing with UTSA. This support is provided only for students without outside employment.

We would appreciate a decision from you as soon as possible, so that we may extend offers to other
prospective students should you decide not to join us in the Spring. Please inform us of your decision by
signing this letter in the space provided below and returning it to belinde.tucker@utsa.edu.

In accordance with the Council of Graduate Schools’ (CGS) Resolution, you may consider other offers of financial
support until the November 25 deadline, but any decision after November 25 is an obligation that you are
expected to honor. Likewise, we will honor this offer until the November 25 deadline, after which point it
will/may be rescinded unless you are informed in writing that the deadline for a decision has been extended.

DEFENDANT’S
EXHIBIT

One UTSA Circle | San Antonio, Texas 78249 | 210.458.6316 | Fax: 210.458.4919
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College of Sciences | Department of Physics and Astronomy

Sincerely,

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Dr. Angela Speck
Chair, Physics and Astronomy

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Dr. Jose Lopez-Ribot
Associate Dean for Research, College of Sciences

( )laccept ( )1 respectfully decline the offer of admission:

Signature Date

( )laccept ( )I respectfully decline the tuition package:

Signature Date

One UTSA Circle | San Antonio, Texas 78249 | 210.458.6316 | Fax: 210.458.4919
